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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS


 UNITED STATES OF AMERICA,                    )
 ex rel. BRIAN THOMAS,                        )
                                              )
                        Plaintiffs,           )
                                              )
 v.                                           )      Case No.: 3:15-cv-00730-DRH-DGW
                                              )
 LINCARE, INC.,                               )
                                              )
                        Defendant.            )

                             JOINT STIPULATION OF DISMISSAL

        Plaintiffs, Brian Thomas (“Relator”) and the United States of America (“United States”),

 by and through their undersigned attorneys and pursuant to the agreements to settle this matter,

 hereby stipulate as follows:

        1. The parties have executed settlement agreements regarding this matter.

        2. The United States consents to this voluntary dismissal under the False Claims Act, 31

 U.S.C. § 3730(b)(1).

        3.      The Relator agrees to dismiss all claims asserted in the Complaint (Doc. 1) with

 prejudice.

        4.      The United States agrees to dismiss all claims asserted in the Complaint with

 prejudice to the extent such claims are encompassed by the Covered Conduct as set forth in the

 Settlement Agreement between the United States and Lincare, Inc., and subject to the terms of that

 Agreement. The United States agrees to dismiss all other claims asserted in the Complaint without

 prejudice.

        5.      All parties agree to bear their own attorneys’ fees and costs, except as otherwise

 agreed to by the parties.
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        6.       All parties agree this Court shall retain jurisdiction for purposes of enforcing all

 agreements entered into by and between the parties to this action.

        WHEREFORE, the parties request that the Court enter an order dismissing this action as

 stated above.



                                               Respectfully submitted,

                                               CHAD A. READLER
                                               Acting Assistant Attorney General
                                               United States Department of Justice, Civil Division

                                               STEVEN D. WEINHOEFT
                                               United States Attorney

                                               /s/ Nicholas J. Biersbach
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                                         /s/ Michael P. Downey (with consent)1
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                                         Attorneys for Relator Brian Thomas




                              CERTIFICATE OF SERVICE


 1On May 30, 2018, AUSA Nicholas J. Biersbach obtained the consent of Attorney Michael P.
 Downey to include his electronic signature in this document on his behalf.

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        I hereby certify that on August 16, 2018, I electronically filed the foregoing JOINT

 STIPULATION OF DISMISSAL with the Clerk of Court using the CM/ECF system which will

 provide notification to the following registered participants:

        Michael P. Downey – mdowney@downeylawgroup.com


                                               Respectfully submitted,

                                               STEVEN D. WEINHOEFT
                                               United States Attorney


                                               /s/ Nicholas J. Biersbach
                                               NICHOLAS J. BIERSBACH
                                               Assistant U.S. Attorney




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